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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION


UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )         CR 116-034
                                                )
KRYSTAL ANGEL ARECHIGA                          )

                                             ______

                                             ORDER
                                             ______


       In light of Defendant’s retention of counsel, the appointment of Davis A. Dunaway is

hereby TERMINATED, and Mr. Dunaway is accordingly INSTRUCTED to file his CJA

voucher within ten (10) days of the date of this Order.

       SO ORDERED this 5th day of July, 2016, at Augusta, Georgia.
